     Case: 22-2606        Document: 111             Filed: 02/14/2023       Pages: 2




                                    February 14, 2023



Via CM/ECF

Christopher G. Conway
Clerk of Court
United States Court of Appeals for the Seventh Circuit
219 South Dearborn Street
Room 2722
Chicago, IL 60604

       Re:     Aearo Technologies LLC, et al. v. Those Parties Listed on Appendix A to
               the Complaint, et al., No. 22-2606

Dear Mr. Conway:
        Appellees have alerted this Court to In re LTL Management, LLC (“LTL”), 2023
WL 1098189 (3d Cir. Jan. 30, 2023), but LTL is procedurally, factually, and legally
inapposite. In LTL, the bankruptcy court both enjoined litigation against non-debtors (on
all three grounds rejected by the bankruptcy court here) and denied a motion to dismiss the
bankruptcy petition as filed in bad faith. Although both issues were before it, the Third
Circuit pointedly addressed only the latter. Op.32 n.11, 56. This appeal, in stark contrast,
raises only the former. And nothing in the Third Circuit’s lengthy opinion even hints that
a stay or injunctive relief against non-debtors would be unavailable or inappropriate in the
event of a good-faith filing.

        As the bankruptcy court here observed, the good-faith question addressed in LTL is
not “relevant” to the stay/injunctive-relief questions at issue here. SA.16-17. Appellees
themselves recognized as much by moving to dismiss in the bankruptcy court in light of
LTL. But even if the good-faith issue were properly before this Court, LTL would remain
factually and legally inapposite. The Third Circuit underscored that good faith is a highly
factbound issue. The facts here are materially different. LTL involved a made-for-
bankruptcy spin-off, while Aearo is a 40-year-old company with over $100 million in
revenue—an “appropriate debtor[] with cognizable liabilities under the Bankruptcy Code.”
SA.17. Moreover, in contrast to the Third Circuit’s understanding of LTL’s funding
agreement, Aearo’s receipt of 3M money under the Funding Agreement is not guaranteed.
Those factual differences take on added import given key differences in circuit law: Unlike
the Third Circuit, this Court requires the movant to demonstrate lack of good faith, In re
Woodbrook Assocs., 19 F.3d 312, 317 (7th Cir. 1994), and it asks whether it is reasonable
to expect that a plan of reorganization can be confirmed, in contrast to the Third Circuit’s
categorical “immediate financial distress” requirement. See In re Bartle, 560 F.3d 724,


                         706 Duke Street • Alexandria, VA 22314
                        202.742.8900 • www.clementmurphy.com
     Case: 22-2606        Document: 111             Filed: 02/14/2023       Pages: 2

Mr. Christopher G. Conway, Clerk of Court
February 14, 2023
Page 2 of 2

730 (7th Cir. 2009). In short, LTL has no bearing on the issues before this Court and little
relevance to the motion to dismiss pending before the bankruptcy court.



                                                     Respectfully submitted,

                                                     /s/ Paul D. Clement
                                                     Paul D. Clement
                                                     CLEMENT & MURPHY PLLC
                                                     706 Duke Street
                                                     Alexandria, VA 22314
                                                     (202) 742-8900
                                                     paul.clement@clementmurphy.com

Cc: All counsel of record (via CM/ECF)




                         706 Duke Street • Alexandria, VA 22314
                        202.742.8900 • www.clementmurphy.com
